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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         )   Chapter 11
                                                               )
MALLINCKRODT PLC, et al.,                                      )   Case No. 20-12522 (JTD)
                                                               )
                   Debtors.1                                   )   (Jointly Administered)
                                                               )
                                                               )   Obj. Deadline: June 6, 2022 at 4:00 p.m. (ET)
                                                               )

    SIXTH INTERIM FEE APPLICATION OF WACHTELL, LIPTON, ROSEN & KATZ
    FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND FOR
                     REIMBURSEMENT OF EXPENSES AS
          CO-COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION
       FOR THE PERIOD FROM JANUARY 1, 2022 THROUGH MARCH 31, 2022

                   Pursuant to sections 330 and 331 of title 11 of the United States Code, §§ 101-

1532 (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure of

the United States Bankruptcy Court for the District of Delaware (the “Local Rules”) and the

Order Establishing Procedures for Interim Compensation and Reimbursement of Professionals,

dated December 9, 2020 (Docket No. 770) (the “Interim Compensation Order”), Wachtell,

Lipton, Rosen & Katz (“Wachtell Lipton”) hereby files this Sixth Interim Fee Application of

Wachtell, Lipton, Rosen & Katz for Allowance of Compensation for Services Rendered and for

Reimbursement of Expenses as Co-Counsel to the Debtors and Debtors in Possession for the

Period from January 1, 2022 through March 31, 2022 (the “Application”). By the Application,

Wachtell Lipton seeks interim allowance pursuant to the Interim Compensation Order with

respect to the sums of $1,497,240.00 as compensation and $13,215.60 for reimbursement of


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     A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
     and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675
     McDonnell Blvd., St. Louis, Missouri 63042.



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actual and necessary expenses, for a total of $1,510,455.60 for the period January 1, 2022

through and including March 31, 2022 (the “Interim Compensation Period”). In support of this

Application, Wachtell Lipton respectfully represents as follows:

                                          Background

       1.      On October 12, 2020 (the “Petition Date”), the debtors in possession in the

above-captioned cases (the “Debtors”) filed voluntary petitions commencing cases for relief

under chapter 11 of the Bankruptcy Code. The Debtors continue to manage and operate their

businesses as debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

On October 27, 2020, the Office of the United States Trustee for the District of Delaware (the

“U.S. Trustee”) appointed an official committee of unsecured creditors (the “Creditor’s

Committee”) and an official committee of opioid related claimants (the “Opioid Claimants’

Committee” and, collectively with the Creditors’ Committees, the “Official Committees”) in

these chapter 11 cases. No trustee or examiner has been requested in these cases.

       2.      Wachtell Lipton was retained effective as of the Petition Date by this Court’s

order, dated December 1, 2020 (Docket No. 619) (the “Retention Order”). The Retention Order

authorized Wachtell Lipton to be compensated and to be reimbursed for reasonable and

necessary out-of-pocket expenses.

       3.      To the best of Wachtell Lipton’s knowledge, this Application complies with

sections 330 and 331 of the Bankruptcy Code, the applicable Bankruptcy Rules, the Guidelines

adopted by the Office of the United States Trustee, Local Rule 2016-2, and the Interim

Compensation Order.




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                               Compensation Paid and Its Sources

       4.      All services for which compensation is requested by Wachtell Lipton were

performed for or on behalf of the Debtors.

       5.      Except to the extent of the retainers paid to Wachtell Lipton as described in the

application seeking approval of Wachtell Lipton’s employment by the Debtors during the period

covered by this Application, Wachtell Lipton has received no payment and no promises for

payment from any source for services rendered or to be rendered in any capacity whatsoever in

connection with the matters covered by this Application. There is no agreement or

understanding between Wachtell Lipton and any other person other than the partners of Wachtell

Lipton for the sharing of compensation to be received for services rendered in these cases.

                                 Actual and Necessary Expenses

       6.      A summary of actual and necessary expenses and daily logs of expenses incurred

by Wachtell Lipton during the Interim Fee Period is attached hereto as Exhibit C. Wachtell

Lipton charges its clients $0.10 per page for black and white photocopying and printing jobs and

$0.25 per page for color photocopying and printing jobs.

       7.      Regarding providers of on-line legal research (e.g., Lexis and Westlaw), Wachtell

Lipton charges all of its clients the standard usage rates these providers charge, which, due to

contractual flat fees, may not always equal Wachtell Lipton’s actual cost. Wachtell Lipton

currently is under contract to pay these providers a flat fee every month. Charging its clients the

on-line providers’ standard usage rates allows Wachtell Lipton to cover adequately the monthly

flat fees it must pay to these types of providers.

       8.      Wachtell Lipton believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, Wachtell Lipton believes that such

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charges are in accordance with the American Bar Association’s (the “ABA”) guidelines, as set

forth in the ABA’s Statement of Principles, dated January 12, 1995, regarding billing for

disbursements and other charges.

                                Summary of Services Rendered

       9.       The partners, of counsel, counsel, and associates of Wachtell Lipton who have

rendered professional services in these cases are as follows: Philip Mindlin, Rachelle Silverberg,

Emil A. Kleinhaus, Victor Goldfeld, John R. Sobolewski, Tijana J. Dvornic, Neil M. Snyder, S.

Christopher Szczerban, Franco Castelli, Corey J. Banks, Sasha F. Belinkie, Swift S. O. Edgar,

Michael H. Cassel, Sahand Moarefy, Malcolm Evans, Kisho Watanabe, Kirby M. Smith,

Malcolm F. Evans, Nicholas A. Krafft, Kiet T. Lam, Iliria Camaj, Mitchell S. Levy, Alexander

M. Miles, Morgan A. Arthur and Yarek M. Smagowski. The paraprofessionals of Wachtell

Lipton who have provided service to these attorneys in these cases are as follows: Luis A.

McNish, Richard Lam, Ye Li, Soe Min, Jordana S. Dreyfuss, Ann Marie Ghany, Aaron R.

Samaroo, Kyaik P. Tan, Frederik D.Z. Hoosein, Olivia S. Zhao, Jessica Cohen, Jennifer G.

Marshall, Maxwell B. Altholz and Paul W. Hirschhorn.

       10.      Wachtell Lipton, by and through the above-named persons, has prepared and/or

assisted in the preparation of various applications and orders submitted to the United States

Bankruptcy Court for the District of Delaware (the “Court”) for consideration, advised the

Debtors on a regular basis with respect to various matters in connection with these cases, and has

performed all necessary professional services which are described and narrated in detail

hereinafter.

       11.      The attorneys and paraprofessionals who rendered services relating to each

category during the Interim Compensation Period are identified, along with the number of hours

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for each individual and the total compensation sought for each category, in Exhibit A attached

hereto.

              A.      Asset Dispositions

                      Interim Period Fees:           $0              Total Hours: 1.0

                      This category includes all matters related to M&A activity and other

              transactional work related to asset dispositions. During the Interim Compensation

              Period, Wachtell Lipton did not perform substantial work in this category.

              B.      Automatic Stay Issues/Motions for Relief

                      Interim Period Fees:           $0              Total Hours: 0

                      This category includes all matters related to dealing with motions for relief

              from the automatic stay or enforcement of the stay. During the Interim

              Compensation Period, Wachtell Lipton did not perform substantial work in this

              category.

              C.      Avoidance Power Issues/Actions

                      Interim Period Fees:           $0              Total Hours: 0

                      This category includes all matters related to the avoidance powers

              provided by sections 544, 545, 547, 548, 549, 550, and 551 of the Bankruptcy

              Code. During the Interim Compensation Period, Wachtell Lipton did not perform

              substantial work in this category.

              D.      Business Operations/Strategic Planning

                      Interim Period Fees:           $0              Total Hours: 0.00

                      This category includes all matters related to strategy and ongoing

              operations of the business. During the Interim Compensation Period, Wachtell

              Lipton did not perform substantial work in this category.
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 E.     Case Administration

        Interim Period Fees:            $45,222.50     Total Hours: 38.9

        This category includes all matters related to coordination and compliance

 activities not specifically covered by another category as well as recurring

 meetings among Wachtell Lipton, other professionals of the Debtor and the

 Debtor for general case organizational purposes. During the Interim

 Compensation Period, time in this category principally related to general case

 administration and organizational meetings to coordinate actions during this case.

 F.     Corporate (Including Disclosure and Corporate Governance)

        Interim Period Fees:            $371,122.50    Total Hours: 264

        This category includes all matters related to general corporate governance

 advice and securities filings, review and preparation of corporate documents (e.g.,

 articles and bylaws, etc.). During the Interim Compensation Period, time in this

 category principally related to ongoing disclosure and corporate governance

 issues, such as required filings with the Securities and Exchange Commission and

 attendance at meetings of the Board of Directors.

 G.     Creditor Committee Matters

        Interim Period Fees:            $0             Total Hours: 0

        This category includes all matters relating to the Official Committees.

 During the Interim Compensation Period, time in this category principally related

 to presentations and meetings with the Official Committees, research on the

 treatment of certain secured claims, and responding to the Official Committees’

 document production requests.


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 H.     DOJ Settlement Matters

        Interim Period Fees:            $0             Total Hours: 0

        This category includes all matters relating to the settlement of actions

 brought by the U.S. DOJ against the Debtor. During the Interim Compensation

 Period, Wachtell Lipton did not perform substantial work in this category.

 I.     Employee Matters

        Interim Period Fees:            $0             Total Hours: 0

        This category includes all matters related to and including employee and

 retiree benefit issues, including compensation, bonuses, severance, insurance

 benefits, and 401K, pensions, or other retirement plans. During the Interim

 Compensation Period, Wachtell Lipton did not perform substantial work in this

 category.

 J.     Environmental Matters

        Interim Period Fees:            $0             Total Hours: 0

        This category includes all matters related to environmental liability claims

 in the bankruptcy and environmental regulators. During the Interim

 Compensation Period, Wachtell Lipton did not perform substantial work in this

 category.

 K.     Executory Contracts and Unexpired Leases

        Interim Period Fees:            $0             Total Hours: 0

        This category includes all matters relating to analysis of leases and

 executory contracts and preparation of motions to assume or reject. During the

 Interim Compensation Period, Wachtell Lipton did not perform substantial work

 in this category.
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 L.     Financing

        Interim Period Fees:             $453,580.00       Total Hours: 461.6

        This category includes matters under section 364 (e.g. DIP financing or

 use of cash collateral of secured lenders), exit financing issues, or issues related to

 the ECF Motion.

 M.     Insurance

        Interim Period Fees:             $0                Total Hours: 0

        This category includes all matters related to insurance issues, including

 Director & Officer’s insurance. During the Interim Compensation Period,

 Wachtell Lipton did not bill substantial work in this category, although some

 insurance matters were integral to the Shenk securities litigation, discussed in the

 non-bankruptcy litigation category.

 N.     Litigation (Bankruptcy)

        Interim Period Fees:             $105,360.00       Total Hours: 65

        This category includes all contested matters and adversary proceedings in

 bankruptcy court. Certain bankruptcy litigation matter time, including attending

 hearings before this Court as well as certain time related to the mediation process

 or discovery issues, is accounted for in this category.

 O.     Litigation (Non-Bankruptcy)

        Interim Period Fees:             $349,647.50       Total Hours: 274.6

        This category includes all other litigation matters proceeding outside of

 bankruptcy court.

 P.     Non-working Travel Time

        Interim Period Fees:             $0                Total Hours: 0
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           This category includes all non-working travel time. Wachtell Lipton did

 not bill significant non-working travel time during the Interim Compensation

 Period.

 Q.        Plan of Reorganization

           Interim Period Fees:            $118,045.00    Total Hours: 81.5

           This category includes all matters related to formulation, negotiation,

 presentation and confirmation of a chapter 11 disclosure statement and plan.

 R.        Regulatory Matters (excluding environmental)

           Interim Period Fees:            $0             Total Hours: 0

           This category includes all matters related to other regulatory matters,

 excluding environmental regulatory matters. During the Interim Compensation

 Period, Wachtell Lipton did not perform substantial work in this category.

 S.        Reports and Schedules

           Interim Period Fees:            $0             Total Hours: 0

           This category includes time spent preparing reports and schedules for

 filing with the bankruptcy court. During the Interim Compensation Period,

 Wachtell Lipton did not perform substantial work in this category.

 T-1.      Retention/Fee Matters (Wachtell Lipton)

           Interim Period Fees:            $27,255.00     Total Hours: 30.7

           This category includes all time spent preparing, reviewing, filing and

 circulating retention applications and fee applications for Wachtell Lipton.

 Wachtell Lipton’s time in this category principally relates to preparing its

 monthly fee statement and fourth interim fee application.

 T-2.      Retention/Fee Matters (other)
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          Interim Period Fees:            $420           Total Hours: 0.3

          This category includes time spent reviewing invoices or applications of

  other professionals, objecting to fees of other professionals and assisting other

  professionals with filing and circulating monthly invoices and applications.

  During the Interim Compensation Period, Wachtell Lipton did not perform

  substantial work in this category.

  U.      Secured Claim Issues

          Interim Period Fees:            $26,617.50     Total Hours: 31.9

          This category includes all matters related to analysis of secured claims and

  collateral. During the Interim Compensation Period, time in this category

  principally related to the preparation of papers related to secured claims and

  litigation with certain of the Debtors’ noteholders.

  V.      Tax Matters

          Interim Period Fees:            $-             Total Hours: 0

          This category includes all matters related to taxation issues. During the

  Interim Compensation Period, time in this category principally related to certain

  restructuring transactions to maximize tax efficiencies in the Debtors’ corporate

  structure.

  W.      U.S. Trustee Matters

          Interim Period Fees:            $0             Total Hours: 0

          This category includes all matters involving the U.S. Trustee’s Office.

  During the Interim Compensation Period, Wachtell Lipton did not perform

  substantial work in this category.

  X.      Utilities
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                       Interim Period Fees:             $0             Total Hours: 0

                       This category includes all matters related to the Debtor’s utility service

               providers. During the Interim Compensation Period, Wachtell Lipton did not

               perform substantial work in this category.

               Y.      Vendor and Customer Matters

                       Interim Period Fees:             $0             Total Hours: 0

                       This category includes all matters related to the Debtor’s vendors,

               suppliers, and customers, including critical vendors. During the Interim

               Compensation Period, Wachtell Lipton did not perform substantial work in this

               category.

               Z.      Disbursements

                       Interim Period Fees:             $0             Total Hours: 0

                       This category includes all matters related to disbursements from the

               Debtor’s estates. During the Interim Compensation Period, Wachtell Lipton did

               not perform substantial work in this category.

                                       Valuation of Services

       12.     As set forth in Exhibit A, attorneys and paraprofessionals of Wachtell Lipton

have expended a total of 1,385.4 hours in connection with this matter during the Interim

Compensation Period.

       13.     The nature of the work performed by these persons is fully set forth in the

eleventh, twelfth, and thirteenth monthly fee applications. These are Wachtell Lipton’s ordinary

hourly rates for work of this character. The reasonable value of the services rendered by

Wachtell Lipton to the Debtors during the Interim Compensation Period is $1,497,240.00.


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                            Expenses Incurred By Wachtell Lipton

       14.     Section 330 of the Bankruptcy Code authorizes “reimbursement for actual,

necessary expenses” incurred by professionals and paraprofessionals employed in a chapter 11

case. Accordingly, Wachtell Lipton seeks reimbursement for expenses (“Expenses”) incurred in

connection with services rendered by Wachtell Lipton to the Debtors during the Interim

Compensation Period in the amount of $13,215.60.

       15.     Wachtell Lipton has made and continues to make every effort to minimize its

Expenses in these Chapter 11 Cases. The Expenses incurred in the rendition of professional

services were necessary, reasonable and justified under the circumstances to serve the Debtors.

                          Standards for Allowance of Compensation

       16.     Wachtell Lipton is a New York law firm with a widely recognized expertise in the

area of bankruptcy and corporate reorganizations. Given the size and complexity of these

Chapter 11 Cases, the professional services rendered by Wachtell Lipton on behalf of the

Debtors during the Interim Compensation Period and Monthly Compensation Period required a

high degree of legal services. Thus, in accordance with the factors enumerated in section 330 of

the Bankruptcy Code, Wachtell Lipton respectfully submits that the compensation and

reimbursement requested in the Application are reasonable, actual and necessary given (a) the

complexity of these Chapter 11 Cases, (b) the time expended, (c) the nature and extent of the

services rendered, (d) the value of such services and (e) the costs of comparable services in the

non-bankruptcy context.




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Dated: May 16, 2022
       New York, New York
                                 /s/ Philip Mindlin
                                 WACHTELL, LIPTON, ROSEN & KATZ
                                 51 West 52nd Street
                                 New York, New York 10019
                                 Telephone: (212) 403-1000
                                 Facsimile: (212) 403-2000

                                 Co-Counsel to the Debtors and Debtors in Possession




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